   y                   Case 2:15-cr-00442-JHS Document 164 Filed 09/13/19 Page 1 of 7
AO 245B (Rev 02/18)   Judgment ma Criminal Case
                      Sheet 1



                                                           UNITED STATES DISTRICT COURT
                                                                            Eastern District of Pennsylvania
                                                                                                   )
             UNITED ST ATES OF AMERICA                                                             )        JUDGMENT IN A CRIMINAL CASE
                         v.                                                                        )
                                                                                                   )
                      MICHELE A. WOOD                                                                       Case Number: DPAE2:15CR000442-03
                                                                                                   )
                                                                                                   )        USM Number: 72454-066
                                                                                                   )
                                                                                                   )         JOSEPH D. MANGANO, ESQ.
                                                                                                                                                                                             ----
                                                                                                   )        Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count( s)                            1 on September 28, 2017

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

                                                                                                                                                                        Offense Ended
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                                                  Service

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                                                           m-...'«c,'4,,,;,.-;_,..,,,,w-w~~~~-,-,,~--;- ~   ""'w-''W=<~-----=-',•--Sh,-'<"


       The defendant is sentenced as provided in pages 2 through                                  __7_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                                                    Dis         Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and Umted States attorney of material clianges in econmruc circumstances.

                                                                                                  9/13/2019
   cc:    A. Wzorek, A.USA                                                                       Date of Imposition of Judgment
         J. Mancano, Defense Attorney
         D. Prioleau, U.S. Probation
         U.S. PreTnal
         U.S. Marshal (2)                                                                        ~dg~
         FLU


                                                                                                 _Joel~~lomsky. L!S_~~ _ _ _ _ _ _ __
                                                                                                 Name and Title of Judge



                                                                                                 Date
                                                                                                       s -r·
                                                                                                         ~ -W-t, I >                                                  I __t,f))                      'L_ - - -



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                       Case 2:15-cr-00442-JHS Document 164 Filed 09/13/19 Page 2 of 7
AO 245B (Rev 02/18) Judgment m Cnmmal Case
                    Sheet 2 - Impnsonment

                                                                                                    Judgment - Page    2    of       7
 DEFENDANT: MICHELE A. WOOD
 CASE NUMBER: DPAE2:15CR000442-03

                                                           IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

  30 Months on Count 1




    ~ The court makes the following recommendanons to the Bureau of Prisons:

  That the defendant receive mental health counseling.
  That the defendant receive any available educational training.
  That the defendant be designated to a facility near Philadelphia, PA

    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the Umted States Marshal for this d1stnct:
           D at                                  D a.m.       D   p.m.     on

           D as notified by the Umted States Marshal

    ~ The defendant shall surrender for service of sentence at the inst1tut10n designated by the Bureau of Prisons:
           ~ before 2 p.m on         10/28/2019

           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                      to

 at - - - - - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                                - - - - - -UNITE-.D-S-TA--TE---,Sc::-:-M-AR=SHAL,---,-------



                                                                         By
                                                                                             DEPUTY UNITED STATES MARSHAL
                       Case 2:15-cr-00442-JHS Document 164 Filed 09/13/19 Page 3 of 7
AO 245B (Rev 02/ 18) Judgment m a Crinnnal Case
                     Sheet 3 - Supervised Release
                                                                                                       Judgment- Page   __L_ of   _ _7     _
DEFENDANT: MICHELE A. WOOD
CASE NUMBER: DPAE2:15CR000442-03
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supel"Vl.sed release for a term of :
    3 Years on Count 1




                                                    MANDATORY CONDITIONS

1.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse (check if applicable/
4       D You must make restitution m accordance with 18 USC §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if appltcable)
5.      ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.      D   You must comply with the reqmrements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if appltcable)
7.      D   You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev 02/18) Judgment ma Cnnnnal Case
                    Sheet 3A SupervtSed Release
                                                                                               Judgment Page _ _ ~ __ of                 1
DEFENDANT: MICHELE A. WOOD
CASE NUMBER: DPAE2:15CR000442-03

                                     STA~ARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behav10r while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least l O days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer withm 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (1.e., anything that was
      designed, or was modified for, the specific purpose of causmg bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 ------------
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AO 245B (Rev 02/18) Judgment ma Cnmmal Case
                    Sheet 3B  Supervised Release
                                                                                            Judgment -Page   _5 _   of _   -~7__
DEFENDANT: MICHELE A. WOOD
CASE NCMBER: DPAE2:15CR000442-03

                                  ADDITIONAL SUPERVISED RELEASE TERMS
The defendant shall refrain from the illegal possession and/or use of drugs and shall submit to urinalysis or other forms of
testing to ensure compliance.

The defendant shall provide the U.S. Probation Office with full disclosure of his financial records to include yearly income
tax returns upon the request of the U.S. Probation Office. The defendant shall cooperate with the probation officer in the
investigation of his financial dealings and shall provide monthly statements of her income.

The defendant is prohibited from incurring any new credit charges or opening additional lines of credit without the approval
of the probation officer, unless the defendant is in compliance with a payment schedule for any fine and restitution
obligation. The defendant shall not encumber or liquidate interest in any assets unless it is in direct service of the fine and
restitution obligation or otherwise has the express approval of the Court.

The defendant is to refrain from operating any business or holding any employment with any entity whereby she has direct
or indirect access to any individuals person information.
                                      Case 2:15-cr-00442-JHS Document 164 Filed 09/13/19 Page 6 of 7
AO 245B (Rev 02/18)                 Judgment m a Cnmmal Case
                                    Sheet 5 · Cnmmal Monetary Penalties
                                                                                                                                                Judgment - Page   6 _   of   7
DEFENDANT: MICHELE A. WOOD
CASE NUMBER: DPAE2: 15CR000442-03
                                                                      CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                                 Assessment                                 JVTA Assessment*                                   Fine                   Restitution
TOTALS                         $ 100.00                                 s                                                    $ 500.00               $ 1,400,000.00



 D       The determination of restitution is deferred until
                                                            ----
                                                                 • An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount hsted below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned paynient, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

,Name of Payee -~---·""'·$=-                                                                            Total Loss**
                                                                                       r=-=             ey



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~ Mail 'stop 6261                              ·
    333 W. Pershing Ave.

'. Kari;;~, City, MO 64108




 TOTALS                                                      s                    1,400,000.00                           $              1,400,000.00


 D        Restitution amount ordered pursuant to plea agreement $

 D        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ll'.i    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           D       the interest requirement is waived for the                              ll'.i       fine      ll'.i   restitution.

          D the interest requirement for the                                D       fine           D         restitution is modified as follows:

                            •
 * Justice for V1ct1ms ofTrafficking Act of 2015, Pub. L                                       No. 114-22.
 ** Findings for the total amount oflosses are required under Chapters 109A, 110, l IOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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A0'245B (Rev 02/18) Judgment ma Cnmmal Case
                    Sheet 6 - Schedule of Payments

                                                                                                        Judgment-·Page __ 7_ of _ _7__
DEFENDANT: MICHELE A. WOOD
CASE NUMBER: DPAE2:15CR000442-03

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ~    Lump sum payment of$         !_00.0~ _ _ _        due immediately, balance due

           D      not later than - - - - - - · - -              , or
                                                          --
           liZJ   in accordance with D C, D D,             D     E, or     D   Fbelow; or

B    D     Payment to begin immediately (may be combined with            DC,        D D, or      D F below); or
C     D Payment in equal         _ _ _ _ _ (e.g. weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                          (e.g. months or years), to commence _____ (e.g. 30 or 60 days) after the date of this judgment; or

D     ~    Payment in equal      monthly        (e . g, weekly, monthly, quarterly) installments of $   100.00            over a period of
           36 Mont~ (e.g .. months or years;", to commence           30 days (e . g, 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within _ _ _ _ _ (e.g. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D    Special instructions regardmg the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




~     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number}, Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Vontia Jones    15-CR-442-01
       Voncel Harrigan 15-CR-442-02
       Sharon Price    15-CR-555-01


D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s).

D     The defendant shall forfeit the defendant's interest in the following property to the Cnited States



Payments shall be applied in the following order: (I) assessment, (2) restitution prmcipal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
